                                                                                                 EXHIBIT 1
mmascis@sullivanllp.com

From:                              Ken Searles <ksearles@internationalcontainerco.com>
Sent:                              Tuesday, July 30, 2019 11:10 AM
To:                                s.rodoplu@ermakusa.com; h.telci@ermakusa.com; i.karakaya@ermakusa.com;
                                   ufuk.kocael@ermakusa.com
Cc:                                Cwilson; mmenard@internationalcontainerco.com
Subject:                           Ermaksan Press Brake
Attachments:                       IMG_0835.jpg; IMG_0836.jpg; IMG_0837.jpg


Hi Ufuk, the corrupt ﬁle doesn't come on all the me and has gone away now. Now the rear gate open is on which is
normal upon start up. But once you press the test bu on it clicks a relay on and the gate open message goes away and
allows the machine to start up. We don't hear that relay clicking on anymore. I'm not sure which relay it is. This leads us
to believe its a problem with the lazer guard in the rear. Please let me know your thoughts and where to begin.
Thank you very much for your quick response, Kenneth Searles

-----Original Message-----
From: "Ken Searles" <ksearles@interna onalcontainerco.com>
Sent: Tuesday, July 30, 2019 11:00am
To: "Ksearles" <ksearles@interna onalcontainerco.com>
Subject:




Sent from my iPhone




                                                             1
EXHIBIT 2
                                                                                                      EXHIBIT 3
mmascis@sullivanllp.com

From:                              SENOL RODOPLU <s.rodoplu@ermakusa.com>
Sent:                              Tuesday, October 15, 2019 1:02 PM
To:                                Ken Searles; HULYA YILMAZ
Cc:                                SERVICE; mmenard@internationalcontainerco.com;
                                   cwilson@internationalcontainerco.com; Joseph Searles; ILKER KARAKAYA
Subject:                           Re: Ermaksan Press Brake


Hi Ken,
I was able to receive quota on for light guard compa ble with your machine with programs loaded into it so you can
simply install it on and start working with your machine.

It's cost is $8,750 for part and $800 for programming, total is coming out to $9,550 plus shipping.

Our spare part department is also trying to ﬁnd another solu on which would be cost eﬀec ve parts for your machine
which can be used instead.

As soon as they came up with other solu on as an op on I will let you know but for now I wanted to submit ﬁrst op on if
you wanted to go with it without wai ng.

Please let us know.

Senol Rodoplu
VP of Sales
ERMAKUSA
Cell: +1 630-512-7604

“Exellence in Fab Equipment Sales and Service”



On 10/10/19, 12:48 PM, "Ken Searles" <ksearles@interna onalcontainerco.com> wrote:

  Hi Senol, do you have any update on my Ermaksan press brake? My boss is very anxious right now.

  Thank you,
  Ken Searles
  Interna onal Container Co., LLC
  (413) 538-9200
  www.interna onalcontainerco.com

  -----Original Message-----
  From: "Ken Searles" <ksearles@interna onalcontainerco.com>
  Sent: Wednesday, October 9, 2019 1:22pm
  To: s.rodoplu@ermakusa.com, service@ermaksan.com.tr
  Cc: "mmenard@interna onalcontainerco.com" <mmenard@interna onalcontainerco.com>,
"cwilson@interna onalcontainerco.com" <cwilson@interna onalcontainerco.com>, "Joseph Searles"
<jsearles@interna onalcontainerco.com>
  Subject: FW: Ermaksan Press Brake

                                                             1
  Hi Senol, here is the informa on you asked for.

  The error code on the lazersafe module inside the cabinet on ( channel 1 is 2209 ) & on ( channel 2 is A201 )

  Machine Informa on.
  Year: 2007
  Model: CNCSAP 12 x 220
  SER #: SN20071136
  TON: 220

  CONTROL
  DELEM
  TYPE: DA-66WE
  SER #: 29374

  Please let me know the quickest way to handle this. We've been inoperable for three weeks now and NEED to be back
up running asap.
  Thank you,
  Ken Searles
  Interna onal Container Co.
  O:413-538-9200
  C:413-478-5998




  Sent from my iPhone




                                                            2
EXHIBIT 4
EXHIBIT 5
EXHIBIT 6
                                                                                      EXHIBIT 7

About
Welcome to the Official YouTube channel of Lazer Safe. Lazer Safe is a technology company
specialising in the development and manufacture of control, safety and operator protection systems
for press brakes and related sheet metal machinery. Our industry leading systems are designed and
certified to the highest european and international safety standards. press brakes equipped with
Lazer safe technology benefit through significantly higher levels of machine productivity and
performance without compromising operator safety. Since 1998 Lazer safe has established a
reputation as a technology innovator and an international centre of expertise that is recognised by
many of the industry’s most highly respected press brake manufacturers.
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      23 videos

      68,475 views

      Joined Nov 25, 2008

      Australia
Share channel
EXHIBIT 8
EXHIBIT 9
                           EXHIBIT 10




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EXHIBIT 11
EXHIBIT 12
